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 5
     Attorney for Defendant
 6   DIANA HERNANDEZ
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                                IN THE UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13 UNITED STATES OF AMERICA,                                   Case no. 2:11-cr-00096-JAM
14                          Plaintiff,                         STIPULATION AND [PROPOSED]
                                                               ORDER TO MODIFY CONDITIONS OF
15          vs.                                                PRETRIAL RELEASE TO ALLOW
                                                               DEFENDANT DIANA HERNANDEZ-
16                                                             GONZALEZ TO TRAVEL TO MEXICO
     DIANA HERNANDEZ-GONZALEZ,                                 AND FOR TEMPORARY RETURN OF
17                                                             PASSPORT
                            Defendant(s).
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19
20          Plaintiff, United States of America, by and through its counsel, Assistant United States Attorney
21   Paul A. Hemesath, and defendant Diana Hernandez-Gonzalez., by and through her counsel, Hayes H.
22   Gable, III, agree and stipulate as follows:
23          1. Defendant’s grandfather has passed away.
24          2. The defendant wishes to attend services for him, which are planned to be held in Guadalajara,
25   Mexico.
26          3. The Plaintiff is agreeable to the Court modifying the terms of pretrial release to allow the
27   defendant to travel to Mexico to attend the services.
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 1            4. Pretrial Services Officer Beth Baker has stated to defense counsel that Pretrial Services will
 2   defer to the Court in this matter.
 3            5. In order for the defendant to travel to Mexico, her passport, currently held by the Clerk of this
 4   Court, must be temporally returned to her, through her attorney, who is authorized to take possession
 5   of same for that purpose.
 6            6. The defendant shall notify her Pretrial Services officer at the time of her departure from the
 7   United States.
 8            7. The defendant shall not remain out of the United States longer than eight days.
 9            8. The defendant shall surrender her passport within 48 hours of her return to the United States
10   to her attorney, who shall immediately lodge it with the Clerk.
11            9. All other terms and conditions of the defendant’s pretrial release shall remain in full force.
12
13   SO STIPULATED.                                            BENJAMIN B. WAGNER
                                                               United States Attorney
14
15   Dated: March 14, 2013                                        /s/ Paul A. Hemesath
                                                               PAUL A. HEMESATH
16                                                             Asst. United States Attorney
                                                               Attorney for Plaintiff
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18   Dated: March 14, 2013                                       /s/ Hayes H. Gable, III
                                                               HAYES H. GABLE, III
19                                                             Attorney for Defendant
                                                               DIANA HERNANDEZ-GONZALEZ
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 1                                                   ORDER
 2          Based upon the foregoing stipulation of the parties, and good cause appearing, the Court grants
 3   the defendant’s request to modify the terms of her pretrial release to allow her to travel to Mexico upon
 4   the terms and conditions set forth in the stipulation. The Clerk of this Court is ordered to release the
 5   defendant’s passport to her attorney, Hayes H. Gable, III. All other terms and conditions of the
 6   defendant’s pretrial release will remain in full force.
 7   IT IS SO ORDERED.
 8   Dated: March 14, 2013.
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10                                                  ALLISON CLAIRE
                                                    UNITED STATES MAGISTRATE JUDGE
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